 

 

UNITED STATES DISTRICT COURT
SOUTHERN. DISTRICT OF NEW YORK

Tweet Penk Diw 42065) 17CV 2 1 6°?

Write the full name of each plaintiff.

 

 

(Include case number if one has been

 

 

 

 

assigned)
-against- COMPLAINT
’ (Prisoner
\/ Cc , u\ G Do you want a jury trial?
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| Hauncey ST
BDeesx, NY 16444
Write the full name of each defendant. If you cannot fit the
names of all of the defendants in the space provided, please > ee
write “see attached” in the space above and attach an _ cas
additional sheet of paper with the full list of names. The = a
names listed above must be identical to those contained in my OO
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Section IV. ~
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xe AG
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NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of

an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev. 5/20/16
I. LEGAL BASIS FOR CLAIM

State below the federal legal basis for your claim, if known. This form is designed primarily for
prisoners challenging the constitutionality of their conditions of confinement; those claims are
often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or ina

“Bivens” action (against federal defendants).

if Violation of my federal constitutional rights

 

A Other: Pausicar Darcie, lou Coerectens StAEr,
II. PLAINTIFF INFORMATION

Each plaintiff must provide the following information. Attach additional pages if necessary.

 

—
JAEZL PENA
First Name ~ Middle Initial Last Name

 

State any other names (or different forms of your name) you have ever used, including any name
you have used in previously filing a lawsuit.

DIN?t|N4+R 065 \

Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
and the ID number (such as your DIN or NYSID) under which you were held)

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Current Place of Detention

Pe. Seo

Institutional Address

AD ANCCr WY (QHTR

County, City State Zip Code
Ill. PRISONER STATUS

Indicate below whether you are a prisoner or other confined person:

C1) Pretrial detainee

[} Civilly committed detainee

C Immigration detainee

IY Convicted and sentenced prisoner
[) Other:

 

Page 2
IV. DEFENDANT INFORMATION

To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach

additional pages as necessary.
Defendant 1: Aa ‘ Ceo \ ont LYMICRNG vin)
First Name Last Name Shield #
(Lertecton 5 OFeicee
Current Job Title (or other identifying information)

Viceroy C Baw MAgmme Facihy 1 Hae sv

 

 

 

 

 

 

 

 

 

 

 

Current Work Address
Beowx wy 1o4ua4

County, City State Zip Code
Defendant 2:

First Name Last Name Shield #

Current Job Title (or other identifying information)

Current Work Address

County, City State Zip Code
Defendant 3:

First Name Last Name Shield #

Current Job Title (or other identifying information)

Current Work Address

County, City State Zip Code
Defendant 4:

First Name Last Name Shield #

 

Current Job Title (or other identifying information)

 

Current Work Address

 

County, City State Zip Code

Page 3
V. STATEMENT OF CLAIM
Place(s) of occurrence: Harvuway ins Coens OF Ciwia © pleAwoe

Date(s) of occurrence: (Eu ANS . ROi Ss

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and how each defendant was personally involved in the alleged wrongful actions. Attach

additional pages as necessary.

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INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical treatment,
if any, you required and received.

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VI. RELIEF

State briefly what money damages or other relief you want the court to order.

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VIl. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by anonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

I understand that if I file three or more cases while I am a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status in
future cases.

I also understand that prisoners must exhaust administrative procedures before filing an action
- in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required.

I agree to provide the Clerk's Office with any changes to my address. I understand that my
failure to keep a current address on file with the Clerk's Office may result in the dismissal of my

case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

shalt K Abt tons

Dated Plaintiffs Signature

Jake ‘Pewa

First Name Middle Initial Last Name
DLSTER Goede cnoneL Pauly P.6 Box BOO

Prison Address

NAA ROCK WV - (QUSB

County, City Staté Zip Code

Date on which | am delivering this complaint to prison authorities for mailing:

Page 6
DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
OFFENDER CORRESPONDENCE PROGRAM

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